                                         Case 4:19-cv-03161-YGR Document 534 Filed 03/13/24 Page 1 of 1




                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         IMPINJ, INC.,
                                   4                                                       Case No. 19-cv-3161-YGR
                                                         Plaintiff,
                                   5
                                                 v.                                        PRETRIAL ORDER NO. 4A RE: RETRIAL
                                   6                                                       SCHEDULE
                                         NXP USA, INC.,
                                   7
                                                         Defendant.
                                   8

                                   9   TO ALL PARTIES AND COUNSEL OF RECORD:

                                  10          The parties are advised that the Court modifies the daily schedule as follows. The Court

                                  11   will continue to meet with the parties promptly at 8:00 a.m. to discuss issues outside the presence

                                  12   of the jury. However, the daily trial schedule will extend from 8:30 a.m. to 4:00 p.m., with two
Northern District of California
 United States District Court




                                  13   twenty-minute breaks at approximately 10:00 a.m. and 2:00 p.m. and a forty-minute lunch break at

                                  14   approximately 11:50 a.m.

                                  15          In addition, the Court is forwarding juror questionnaires under separate cover. The parties

                                  16   shall meet and confer and advise via joint email by 9:00 a.m. on Friday March 15, 2024 whether

                                  17   they stipulate to excuse prospective jurors. The Court will advise of any independent decisions it

                                  18   makes to excuse jurors on grounds of hardship.

                                  19          IT IS SO ORDERED.

                                  20   Dated: March 13, 2024

                                  21                                                  ______________________________________
                                                                                            YVONNE GONZALEZ ROGERS
                                  22                                                   UNITED STATES DISTRICT COURT JUDGE
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